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                            EXHIBIT D
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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK

 In re Terrorist Attacks on September 11, 2001     03 MDL 1570 (GBD) (SN)
                                                   ECF Case


This document relates to:

Ashton et al. v. al Qaeda Islamic Army, et al., 02-cv-6977 (GBD)(SN)


       JOHN E. BEAUZILE hereby states under penalty of perjury that:

       1.      I am an actuarial analyst with a master’s degree in actuarial science from Columbia

University, a bachelor’s degree in mathematics with a minor in economics from Marist College, and

a bachelor’s in business administration degree from Pace University with a major in public

accounting. I have experience working with businesses, consulting firms, and accountancies, have

fulfilled the Validation by Educational Experience requirements of the Society of Actuaries (“SOA”)

in economics, corporate finance, and applied statistics, and have also SOA and Casualty Actuarial

Society (“CAS”) exams in probability, financial mathematics, models for financial economics, short

term actuarial mathematics, models for stochastic processes and statistics, and models for life

contingencies. My curriculum vitae is attached hereto as Exhibit A.

       2.      I was hired by Kreindler & Kreindler LLP to update economic loss figures for estates

of individuals killed in the September 11, 2001 terrorist attacks. I provided those present-value

figures for economic loss to estates along with an explanation of the materials upon which I relied,

presented in cover letters followed by updated calculation summaries in every estate case for which I

was provided a prior economic loss calculation.

       3.      The methodology I employed in reaching the present-value figure depended on what

information was available in the original economic loss to estate calculations. In some cases, I
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reviewed and relied on files maintained by the Department of Justice in connection with the

September 11th Victim Compensation Fund (“VCF”), and, in other cases, I reviewed and relied on

economic loss reports prepared previously by an expert.        A copy of a portion of the VCF’s

Frequently Asked Questions, dated April 13, 2004, and describing the VCF methodology for

calculating economic loss, is attached hereto as Exhibit B.




       4.      In cases for which I had VCF information and files, I proceeded as follows:

               a. First, I would identify the VCF award letter to determine what the VCF paid for

                  economic loss to the estate.

               b. I would then identify the valuation files that the VCF used to support the economic

                  loss amounts. Assumptions based on age, income, benefits, tax and discount rates,

                  work-life and life expectancies, and all other assumptions needed to calculate the

                  economic loss amounts.

               c. Using those valuation files, I would update the presumed loss by calculating the

                  loss up until the date of my review. Any values that pre-dated the date of valuation

                  were not adjusted, while values post-dating the date of valuation were.

       5.      On some occasions, the VCF award letter was available but not the valuation files. In

those cases, I made the following assumptions, which were reasonable using generally accepted

economic modeling practices and information contained in other VCF valuation files.

               a. The VCF award did not include payment for replacement services;

               b. Pension benefit was assumed at 4% of pre-tax income, which is the figure that the

                  VCF Special Master used as a default value when no information was available;

               c. Medical benefits were assumed to be $2,400 for 2001, which was the figure that

                  the VCF Special Master used as a default when no information was available and



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                  was adjusted for applicable inflation going forward.

              d. The inflation rate was set equal to the age-specific earnings growth rate.

       6.     Using those assumptions as well as those prescribed by the VCF Special Master, which

I presumed to be the same presumptions employed in those cases for which VCF valuation files were

available, I proceeded to compute “implied” tax-and-personal-consumption-adjusted earnings for

2001. This was done as follows:

              a. I calculated the present value of medical benefits as of the date of the award letter

                  by using the expected work-life (which depends on the decedent's age), then

                  subtracted from the award amounts;

              b. The remaining amount depended on earnings (which, in turn, depended on 2001

                  earnings and age), work-life expectancy, and discount rate (both of which also

                  depended on age).

              c. By combining the age-specific growth rates with the discount (to get adjusted

                  discount rates for each year) and 2001 earnings with taxes and personal

                  consumption (to get the 2001 adjusted earnings), the balance of the award after

                  subtracting medical benefits can be written as a factor of 2001 adjusted earnings

                  and an adjusted present value factor (APVF), where APVF is the sum of the annual

                  adjusted discount rates. Given the person's age, APVF is easily calculated.

              d. Using APVF, 2001 adjusted earnings were computed by dividing the balance of

                  award by APVF. Note that pension benefit is a function of earnings, therefore the

                  4% assumption for pension benefit would be included in the APVF calculation.

              e. Armed with the information above, I was able to calculate a new APVF using the

                  chosen valuation date (that is, the date of my report) and then multiplying by the



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                   2001 adjusted earnings to get the updated loss amount or all of the annual adjusted

                   earnings can be calculated by setting taxes and personal consumption equal to zero

                   (they are included with earnings) then discounted to the new valuation date.

       7.      In cases in which an expert previously prepared an economic loss report, I reviewed

the original reports and all supporting exhibits (summarized in my updates) to understand what

assumptions were made, how the original calculations were performed, and the methodology

employed by the original expert economist. I then used the same methodology and assumptions to

update the economic loss amounts of the new valuation data. The updated economic loss amounts in

those cases for which expert reports had been previously prepared reflect the present valuation for

earnings and benefits as well as personal consumption. If the original expert reports did not include

exhibits demonstrating, for example, lost benefits, then I used the same methodology and

presumptions prescribed by the VCF to update the original loss figures.

       8.      Expert reports upon which I relied sometimes had different future growth estimates

depending, for example, on whether the VCF assumption for age-specific future growth rates was

applied or whether the victim had an actual historical wage growth rate greater than the VCF

assumption, in which case a higher growth rate was applied. In those cases, I provided updated

present valuations for all scenarios.

       9.      I am confident to a reasonable degree of accounting and actuarial certainty that the

present valuations of economic loss figures that I have calculated and provided to Kreindler &

Kreindler LLP are correct.

Dated: February __, 2024
       Binghamton, NY

                                                            John E. Beauzile




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                            EXHIBIT A
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                                                    JOHN E. BEAUZILE

EDUCATION
Columbia University, MS in Actuarial Science, New York, NY                                              Jan 2013 – May 2014

Marist College, BA in Mathematics; Minor in Economics; GPA 3.75, Poughkeepsie, NY                       Jan 2010 – Dec 2011

Pace University, BBA in Public Accounting; GPA 3.79; Pleasantville, NY                                  Sep 2004 – Jun 2007

WORK ELIGIBILITY
Eligible to work in the U.S. with no restrictions

ACTUARIAL EXAMS
Exams Passed: P, FM, MFE, ST, LC
VEE Fulfilled: Economics, Corporate Finance, Applied Statistics

PROFESSIONAL EXPERIENCE
Kreindler & Kreindler, LLP—Actuarial Analyst (Contractor); New York, NY                                 Aug 2017—May 2018
                                                                                         th
     Understand the methodology promulgated by the Special Master of September 11 Victim Compensation Fund
     Review 500+ Economic Loss Award analyses prepared by various economists and actuarial experts back in 2002—2004
     Forecast or determine forecasted incomes, fringe benefits (including pension), tax and personal consumption rates, life
      and work‐life expectancies, household and other care services
     Calculate the present value of presumed economic damages of victims

The Hartford – Workers’ Comp Reserving and Claims Analytics (Contractor); Hartford, CT                   Feb 2016 – Jul 2016
     Prepare variance analysis of average cost of claims and their drivers to company’s management
     Analyze duration of temporary total disability payments and percentage of workers receiving such payments
     Provide analysis of the workers’ compensation line claims settlement rates to management
     Prepare and distribute to senior management a summary report on large losses
     Support the Workers’ Comp Reserving actuary with the reserve review and SOX documentation

ACE Group – Corporate Actuarial, Intern; New York, NY                                                   Nov 2014 – Dec 2015
    Under direct supervision of the Senior Vice President of Corporate Pricing, complete assigned projects and prepare
     summary reports for company’s senior management
    Prepare analysis of rate changes for senior management
    Analyze potential impact of economic conditions on losses of Accident & Health line of business in Europe
    Analyze the relationship between the macro‐economy and P&C profitability
    Model the relationship between the macro‐economy and Workers’ Compensation loss frequency

IBM – Professional Accountant; Somers, NY                                                               Jun 2007 – May 2009
    Prepare and process month‐end and year‐end journal entries including closing, reclassifications, accruals, deferrals
    Review contracts for revenue recognition purposes
    Reconcile various general ledger accounts including Software, Maintenance, and other Prepaid Assets
    Provide various analyses of gross spending on services contracts

OTHER EXPERIENCE
Quantitative Risk Management Term Project                                                                          Fall 2013
    Simulate at monthly intervals Assets and Liabilities of an insurance company and compare them to the risk‐return
      profile of the S&P500
    Assets were invested equally in S&P500, 10‐year, and 30‐year treasuries; Amounts were then used to pay Liabilities
      starting with S&P500 proceeds, then 10‐year bonds, then 30‐year bonds
    S&P500 returns were simulated using a Double Exponential Jump Diffusion Process; Bonds’ interest rates were
      simulated using a multi‐factor Cox‐Ingersoll‐Ross model; Liabilities were simulated by a Gamma process

COMPUTER SKILLS AND INTERESTS
Computer Skills: Excel, PowerPoint, SAS, VBA, SQL, ResQ, MATLAB, R, and JAVA
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         VICTIM COMPENSATION FUND FREQUENTLY ASKED QUESTIONS
                         (Updated April 13,2004)

Section 5 — Compensation for Deceased Victims

5.1     Who gets the money?
Awards will generally be made to the qualified Personal Representative, who must distribute the
award in a manner consistent with the law ofthe decedent's domicile, ruling by a court of
competent jurisdiction or at the direction of the Special Master. In some cases, the Special
Master may make provision for separate distributions to comply with a court approved
distribution plan. An example would be payments to a minor that may need to be paid as an
annuity.

In order to assure that the families of Victims receive adequate compensation, the Personal
Representative must provide a proposed distribution plan in the Compensation Form.
Notwithstanding any other provision ofthese regulations or any other provision of State law, in
the event that the Special Master concludes that the Personal Representative's plan for
distribution does not appropriately compensate the Victim's spouse, children, or other relatives,
the Special Master may direct the Personal Representative to distribute all or part of the award to
such spouse, children, or other relatives.

5.2     How much money can I receive from the Fund?

 If you are the Personal Representative of a deceased Victim, you can look at the Presumed Loss
 Tables to see an approximation of your presumed award for economic and non-economic loss
(available at www.usdoj.gov/victimcompensation or by calling the Helpline for a copy (call
[removed])). The tables are intended to illustrate an average or typical award. Each individual's
 award will vary depending on the exact income, the benefits and other compensation that
 individual received from his or her employment,the Victim's effective tax rate, and the
 household size. The tables include both calculations of presumed economic loss and presumed
 non-economic loss. The non-economic loss is presumed to be equal to $250,000 for each
 deceased Victim plus an additional $100,000 for the Victim's spouse and each of the Victim's
 dependents. This aggregate amount is added to the presumed economic loss to determine the
 entire presumed award for economic and non-economic loss. Additional amounts could be added
 such as medical expenses or burial/memorial costs. This total amount will then be reduced by
 other sources of compensation, such as government programs or life insurance (but not monies
from privately funded charitable entities), you have obtained or are entitled to obtain.

5.3     How do I figure out from the charts how much I will get?

If you are the representative of a deceased Victim, you can get an approximation ofthe award by
looking at the compensation tables at (available at www.usdoi.gov/victimcompensation or by
calling the Helpline for a copy (call [removed])).

• First, pick the most appropriate chart (for example, if the Victim was married with 1 child,
  look at the chart for married Victims with 1 dependent).


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•     Then, look for the age and income level in the chart that is closest to the age and income
      level ofthe Victim. For income, you should include all elements of income including salary,
      tips, bonus, and employer contributions to pension plans and to health insurance plans.

The amount in the appropriate age and income box is the approximate amount of the economic
and non-economic loss for that Victim. The actual amount will vary a bit depending on the age
of the dependent child, for example. To determine the total award, you should add to this amount
any other items of loss, such as burial expenses. Then you should deduct the amount you have
received or are entitled to receive from any collateral source. For example, if you have received
payment from a life insurance company of $25,000 for the Victim's death, you should deduct this
amount from the total. The amount after that deduction is the approximate amount ofthe award
you should receive.

For questions about the effect of collateral source offsets on compensation awards, see below or
contact the Helpline at[removed] or visit one of the Claimant Assistance Sites.

5.4      Will the awards be subject to Federal estate or Federal income tax?

No. The awards are not subject to Federal income tax and, because of the new legislation, in
most cases they would not be subject to Federal estate tax. The Victims of Terrorism Tax Relief
Act of 2001 (Pub. Law No. 107-134) provides income and estate tax relief to the families of
Victims of terrorism. The law waives the income tax liability of a Victim who died in one of the
attacks for both the year ofthe attack and the previous year, and ensures that a minimum benefit
of$10,000 is provided to the family of each Victim. In addition, the law shields the first $8.5
million of a Victim's estate from the Federal estate tax. For example, prior to the new law,
citizens or residents of the United States who died in the September 11, 2001 terrorist attacks,
were able to utilize the maximum state death tax credit allowed for Federal estate tax purposes,
and had made no prior taxable gifts would have had Federal estate tax liabilities as follows:

• A decedent with a Federal taxable estate valued at $2,000,000 would have had a Federal
  estate tax liability of approximately $460,650;
• A decedent with a Federal taxable estate valued at $4,000,000 would have had a Federal
  estate tax liability of approximately $1,339,850; or
• A decedent with a Federal taxable estate valued at $8,000,000 would have had a Federal
  estate tax liability of approximately $3,047,050.

As a result ofthe new law, no Federal estate tax would be due in each case.

5.5       What is non-economic loss?

Each person who was killed or injured in the September 11 attacks suffered grievous harm, and
each person experienced the unspeakable events of that day in a unique way. Some Victims
experienced terror for many minutes, as they were held hostage by terrorists on an airplane or
trapped in a burning building. Some Victims had no warning of what was coming and died
within seconds of a plane hitting the building in which they worked. While these circumstances
may be knowable in a few extraordinary circumstances, for the vast majority of Victims these
circumstances are unknowable.

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 After extensive fact finding, public outreach, and review of public comments, the Special Master
and the Department have concluded that the most rational and just way to approach the
 imponderable task of placing a dollar amount upon the pain, emotional suffering, loss of
enjoyment of life, and mental anguish suffered by the thousands of Victims of the September 11
attacks is to assess the non-economic losses for categories of claimants. The most obvious
 distinction is between those who died and those who suffered physical injury but survived. The
regulations therefore set a presumed award for non-economic losses sustained. For those Victims
 who died as a result ofthe September 11 aircraft crashes, the presumed non-economic losses will
 be $250,000, plus an additional $100,000 for the spouse and each dependent ofthe deceased
 Victim. That $250,000 figure is roughly equivalent to the amounts received under existing
federal programs by public safety officers who are killed while on duty, or members of our
 military who are killed in the line of duty while serving our nation. See 38 U.S.C. §1967
(military personnel); 42 U.S.C. § 3796 (Public Safety Officers Benefit Program). The latter
figures -- $100,000 for the spouse and each dependent -- include a non-economic component of
"replacement services loss."

5.6     What amount is provided for non-economic loss?

For those Victims who died as a result of the September 11 aircraft crashes, the presumed non-
economic losses will be $250,000, plus an additional $100,000 for the spouse and each
dependent ofthe deceased Victim.

5.7     The Victim had an income that was greater than $231,000. How do I determine the
        award?

 The presumed award methodology will calculate awards based on income up to $231,000. The
 regulations provide that for persons who made more than the top 2 percent of persons in the
 United States, the Special Master will compute a presumed award that assumes that the Victim
 would have made the amount equal to $231,000 (plus standard increases) for the rest of his or
 her working life. In extending the presumed awards only up to the 98th percentile, we merely
 recognized that the calculation of awards for many Victims with extraordinary incomes beyond
 the 98th percentile could be a highly speculative exercise and that, moreover, providing
 compensation above that level would rarely be necessary to ensure that that the financial needs
 of a claimant are met. Calculation of an award beyond that point using the presumed award
 methodology without a detailed record could very well produce inappropriate results.
 Accordingly, we permitted applicants with extraordinary prior earnings to accept awards at the
 98th percentile or seek calculation of an award based upon more detailed record. We also note
 that the Special Master has express authority under the Act to consider the "individual
 circumstances ofthe claimant" in fashioning awards, including the financial needs of Victims
 and surviving families in rebuilding their lives. As indicated, the Special Master will strive to
 deliver a fair and equitable sum to each eligible claimant.

 5.8    What does it mean to have a presumed award, and what if I feel I can prove that
        the Victim would have earned more than $231,000?




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Any claimant may seek review of the presumed award or may request a hearing immediately. If
a claimant seeks review of a presumed award, the Special Master may consider a range of
information, including demographic information on retirement trends for high wage earners, the
individual's historical expenses, savings, and any other factors he deems relevant, including
economic trends, information available from the Bureau of Labor Statistics, the Census Bureau
and other entities on average income and retirement age for the Victim's profession or for the
Victim's former employer.

5.9    Is there a minimum award? Does this mean someone could get no payment at all?

The regulations provide that the minimum amount of presumed economic and non-economic
loss, before subtracting amounts for "other sources," will be $300,000 for single deceased
Victims and $500,000 for any deceased Victim who has one or more dependents or is married.
There is no minimum for persons suffering injury.

The Act does not permit the Special Master to create a mandatory legal rule requiring minimum
payouts for all eligible after collateral source deductions. Nevertheless, the Special Master is
permitted to consider the individual circumstances of each claimant, including the needs of the
Victim's family. The Special Master has announced his expectation that, when the total needs of
deceased Victims' families are considered, it will be very rare that a claimant will receive less
than $250,000, except in unusual situations where a claimant has already received very
substantial compensation from collateral sources.

5.10   If the award distribution is based on State law, will that mean that different
       distributions will occur depending on where the Victim lived?

Yes. It is certainly possible that there will be different distribution schemes in different states.
5.11 How are burial/memorial costs handled?

This loss shall be calculated on a case-by-case basis, using documentation and other information
submitted by the Personal Representative and includes the burial/memorial costs that were not
reimbursed.

5.12    In estimating the presumed economic and non-economic awards, how do I use the
        existing charts to compute an award amount if there are more than 2 dependents?

Use the table entitled "Presumed Economic and Non-Economic Loss For a Married Decedent
With 2 Dependent Children." Look up the amount of estimated award based on the compensation
and age of the decedent. The actual impact of dependents greater than 2 will vary with each
computation based on the compensation level ofthe decedent and ages of the family members.
However, for estimation purposes, increasing the award amount on the table entitled "Married
Decedent With 2 Dependent Children" table by 1% for each additional dependent child beyond
the first 2 children will provide a reasonable estimate ofthe economic impact of additional
dependents.

To calculate the non-economic award for additional dependents, add an additional $100,000 for
each dependent beyond the third dependent. Add this amount to the total computed above.

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You should then deduct the amount you have received or are entitled to receive from any
collateral sources as described above.

5.13    Would you provide more information about the procedures for calculating the
        presumed economic loss?

Please look at the detailed information provided in the Presumed Economic and Non-Economic
Loss Tables. You can find these on the web site, or you can call the Helpline at[removed] to get
a copy.

The calculation of presumed economic loss will use the following procedures and assumptions
for death claims:

1. Establish the Victim's age and compensable income.1 Income will be determined based on
   the claimant's submissions. Generally, the Special Master will consider the past three years
   of income data. For some cases the most recent year will be the primary basis of the award --
   other claims may require analysis of trends adjusted to current dollars. The Special Master
   adopted this approach as the one likely to be more favorable to claimants because it relies on
   recent salaries which were relatively high during the past few years.

2. Determine after-tax compensable income by applying the average effective combined
   Federal, State and local income tax rate for the Victim's income bracket currently applicable
   in the State of the Victim's domicile for tax purposes, state and locality. The Special Master
   will consider the Victim's tax returns as well as effective income tax rates derived from
   published Internal Revenue Service (IRS data on selected income and tax items for
   Individual Income Tax Returns by State. Effective income tax rates derived from IRS data
   for New York are attached as Table 1.

3. Add the value of employer provided benefits. These benefits will be set at actual levels if
   data are provided. If the claimant does not provide data, the pension is assumed at 4% of
   pension-eligible compensable income and medical benefits are assumed to be $2,400 per year
   in current year dollars and will be adjusted for applicable inflation. (To prepare the presumed
   award tables, the Special Master assumed that individuals would have benefits equal to 4% of
   compensable income and medical benefits of $2,400 per year.)

4. Determine a measure ofthe Victim's expected remaining years of workforce participation
   using the tabulated work-life expectancies for the Victim's age contained in the publication

  Income up to the IRS 986 percentile of wage earners is considered. This income level was $231,000 for the year
  2000.
2 Average combined effective income tax rates by earnings bracket were calculated based on an analysis ofIRS
  data for the most recent tax years available: 1997, 1998 and 1999. In consideration offuture income tax rate
  reductions and other tax reforms included in the Economic Growth and Tax Relief Reconciliation Act of 2001
 (HR 1836)signed by President Bush on June 7, 2001, the calculated average combined effective income tax rates
  were reduced by an estimated 5%. It is recognized that HR 1836 actually provides for smaller graduated rate
  reductions beginning July 2001 through 2006 and remaining in effect only through 2010. The one-time
  immediate reduction of 5%,assumed to remain in effect for all future years, including years beyond 2010, was
  applied to facilitate projections and eliminate speculation as to future tax law modifications.

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   "A Markov Process Model of Work-Life Expectancies Based on Labor Market Activity in
   1997-1998," by James Ciecka, Thomas Donley, and Jerry Goldman in the Journal ofLegal
   Economics, Winter 1999-2000. These are the most recent and generally accepted tables of
   work-life expectancy regarding the general population available.

    Work-life expectancies are based on actual experiences and behavior ofthe general
    population and measure the estimated remaining time in years an individual a given age will
    be in the labor force (either employed or actively seeking work), allowing for age-specific
    mortality risks and rates of workforce transitions. The Special Master will use the expected
    work-life for "All Active Males" to compute expected remaining years of workforce
    participation for both male and female Victims. These work-life expectancies are attached as
    Table 2. Because published estimated work-life expectancies by gender are lower for women
    than men, this specification increases the duration of estimated foregone earnings, and thus
    presumed economic losses, for female Victims and was implemented by the Special Master
    to accommodate for potential increases in labor force participation rates of women.

5. Project compensable income and benefits through the Victim's expected work-life using
   growth rates which incorporate an annual inflationary or cost-of-living component, an annual
   real overall productivity or scale adjustment in excess of inflation, and an annual real life-
   cycle or age-specific increase derived using data on average full-time year round earnings by
   age bracket from the March 2001 Current Population Survey(CPS), a monthly survey of
   households conducted by the Bureau ofthe Census for the Bureau of Labor Statistics. This
   survey is widely recognized as the primary source of data on employment status and
   workforce characteristics ofthe civilian non-institutional population ages 16 years and older.
   Because age-specific observed life-cycle increases for all males were higher than observed
   life-cycle increases for both men and women combined,the Special Master elected to
   incorporate the life-cycle increases for males into earnings growth for all Victims, both male
   and female.3

    Independent of life-cycle increases, inflation and real overall productivity increases of2%
    and 1%,respectively, were applied each year. These rates of increase are consistent with the
    long-term relationship between economy-wide wage growth and risk-free interest rates,
    which currently reflect lowered inflationary expectations.4 A schedule containing age-
    specific earnings growth rates reflecting the combined inflation, overall productivity and life-
    cycle increases is attached as Table 3. The Special Master has determined that individual
    age-specific growth rates, rather than growth dependent on a particular age bracket at death,
    better reflects the expected pattern of earnings over one's career5 and results in more

3 An examination of real life-cycle earnings growth for males by education level revealed that career real life-cycle
  increases computed for all males across education levels mimicked the career earnings profile of the highest
  educated group. For this reason, the Special Master elected to apply the growth pattern for all males for the sake
  of consistency and to better advantage all claimants.
4
  The assumed 1% annual real overall productivity increase also agrees with assumed ultimate long-term annual
  average covered real-wage differentials used by the Board of Trustees ofthe Social Security Trust Funds to
  project the financial condition ofthe trust funds.
5
  Real life-cycle increases are typically higher in the earlier stages of one's career, one reason being unrealized
  opportunities for advancement and promotion that individuals in later stages of their careers have already
  experienced. During the course of an individual's career, the rate of annual real life-cycle growth tends to
  gradually decline until a peak real earnings level is attained. Although CPS and other data used to study lifetime

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    equitable and consistent projections for Victims close to each other in age with otherwise
    similar family and employment characteristics.

6. To better reflect contingencies that the Victims would have faced, all future earnings
   amounts are adjusted for a factor to account for the risk of unemployment because lifetime
   jobs are not representative ofthe modern economy. This adjustment is made because work-
   life expectancies are based on years of expected workforce participation, which, as defined
   by the Bureau of Labor Statistics, include periods an individual is either working or seeking
   work. Historical unemployment rates were examined and a comparatively low reduction
   factor of3% was applied to presumed earnings to account for this risk.6
7. Subtract from annual projected compensable income and benefits, the Victim's share of
   household expenditures or consumption as a percentage of income, using expenditure data by
   income level obtained from "Table 2. Income before taxes: Average annual expenditures and
   characteristics, Consumer Expenditure Survey, 1999," published by the Bureau of Labor
   Statistics (BLS). This subtraction is a standard adjustment in evaluating loss of earnings in
   wrongful death claims because some amount of the income the Victim would have
   contributed to the household would have been consumed personally by the deceased and not
   available to other household members. A Victim's expenditures were calculated as a share,
   based on household size, of certain expenditure categories. For married or single with
   dependents, these expenditure categories include Food, Apparel & Services, Transportation,
   Entertainment, Personal Care Products and Services, and Miscellaneous. For single without
   dependents, Housing, Education and Health are also included.7 For lower income categories
   where total expenditures exceed income, expenditures were scaled to income, so as not to
   reduce income for expenses potentially met by other forms of support. This approach was
   intended to avoid a penalty to the claimant. Table 4 shows calculated consumption rates by
    income bracket and for various household sizes.

    In determining household size, children were assumed to remain in the household through
    age 18. Consumption rates calculated using alternative techniques were considered but found
    to produce higher personal consumption rates and were not ultimately used to determine
    Victim's household consumption offset.8 Although the consumption rates determined from
    BLS data actually represent household expenditures as a percent of before-tax household
    income,the actual consumption reduction used to determine the Victim's personal
    expenditures was calculated as a percent of lower after-tax income, which significantly
    reduces the resulting offset. In addition, the Victim's consumption is determined as a share
    ofthe Victim's own earnings only, rather than the standard share of total household earnings.

  earnings profiles indicate that peak real earnings typically decline at some point, in calculating life-cycle earnings
  growth in excess of inflation and overall productivity adjustments for Victims, the Special Master has assumed
  that peak earnings are maintained.
6 Application of individualized unemployment rates by age or occupation was infeasible and determined to be
  unnecessary. An examination of trends in unemployment rates demonstrated that the 3% adjustment factor
  utilized was low by historical standards.
7
  Other standard expenditure categories sometimes included in litigation, namely Reading, Cash Contributions,
  Alcoholic Beverages, and Tobacco Products, were excluded.
  These alternative techniques included an analysis of BLS data on household expenditures reported by household
  size, with expenditure categories allocated equally among household members or allocated according to the
  methodology suggested by authors Robert Patton & David Nelson in their 1991 Journal of Forensic Economics
  article, "Estimating Personal Consumption Costs in Wrongful Death Cases."

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    This further lessens the resulting subtraction, compared to personal consumption offsets
    typically applied in litigation, if there are other earners in the household.

8. Calculate the present value of projected compensable income and benefits using discount
   rates based on current yields on mid- to long-term U.S. Treasury securities, adjusted for
   income taxes using a mid-range effective tax rate.9 Because the period of presumed
   economic losses is either longer or shorter, depending on the Victim's age, the present value
   calculations are performed using yields on a blend of securities with longer or shorter times
   to maturity. For computational efficiency, three blended after-tax discount rates were used,
   depending on the Victim's age as of date of death, and assumed to apply for all years
   forward. These rates are shown on Table 5, attached.1°

9. The computation methodology adopts a number of assumptions implemented to facilitate
   analysis on a large scale. When viewed in total, these assumptions are designed to benefit the
   claimants and are more favorable than the standard assumptions typically applied in
   litigation. For example, the Special Master considered that over the course of their projected
   careers, younger Victims could expect to cross into higher income brackets, and be subject to
   corresponding higher income tax rates, on account of experience-based real lifetime earnings
   growth in excess of economy-wide national wage increases. To calculate presumed
   economic losses, however, whatever income tax rate corresponded to the Victim's
   determined compensable income bracket as of date of death was assumed to apply for the
   remainder of the Victim's career, without increase. Likewise, the calculations of presumed
   economic losses also assume that the personal consumption percent corresponding to the
   Victim's determined compensable income bracket as of date of death applies for the
   remainder of the Victim's career, without decrease. It was determined that the net effect of
   these and other facilitating assumptions was to increase the potential amount of presumed
   economic loss to the benefit of the claimant.




9 The tax rate used to determine after-tax interest rates is the computed combined Federal, State and Local income
  tax rate of 18.44% for New York for the $70,000 earnings bracket. Although it is recognized that a different
  after-tax interest rate could theoretically be calculated for each age, income, and state combination, such a
  computation was impracticable for the large-scale valuations to be undertaken here. It was determined that the
  benefit to the claimants of calculating the Victim's personal consumption offset as a percent of after-tax individual
  earnings more than outweighed the potential effect of discounting future amounts by income-specific after-tax
   discount rates. Moreover, computation of the after-tax discount rate using a relatively high combined New York
  income tax rate, compared to other states, results in a lower after-tax discount rate. The lower the after-tax
   discount rate, the higher the present value of presumed economic loss.
19 The blended discount rates, before tax adjustment, shown on Table 5 imply real interest rates in excess of
   inflation of3.1%,2.8%, and 2.2%, depending on the average time to maturity consistent with the average duration
  of presumed losses.

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                                                    Table 1

       Presumed Future Effective Combined Federal, State and Local Income Tax Rates for New York


                                                       Income


       5.27%       8.50%      10.46%      12.25%        14.03%       14.72%   15.41%      16.10%      17.27%




      18.44%      19.50%      20.55%      21.60%       25.00%        26.35%   27.70%      29.05%      30.39%


   Note
   Calculated from data reported in United States Selected Income and Tax Items for Individual Income Tax
   Returns: Forms 1040, 1040A & 1040EZ for Tax Years 1997, 1998 and 1999 (files 971N33NY.XLS,
   981N33NY.XLS and 991N33NY.XLS obtained from the IRS website www.irs.gov). Rates shown reflect a
   reduction of 5% from the reported data.




                                                Table 2

                        Expected Remaining Years of Workforce Participation

                                                        All Active
                                          Age             Males

                                     25                         33.63
                                     30                         29.36
                                     35                         25.04
                                     40                         20.78
                                     45                         16.65
                                     50                         12.64
                                     55                          8.97
                                     60                          5.97
                                     65                          4.20

                      Source:"A Markov Process Model of Work-Life Expectancies
                      Based on Labor Market Activity in 1997-98," by James Ciecka,
                      Thomas Donley and Jerry Goldman in the Journal of Legal
                      Economics, Winter 1999-2000.




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                                            Table 3
                               Presumed Age-Specific Earnings
                                         Growth Rates
                          (Including Life-Cycle, Inflation, and Overall
                                    Productivity Increases)

                        Age                       Earnings Growth Rate
                         18                              9.744%
                         19                              9.580%
                         20                              9.419%
                         21                              9.263%
                         22                              9.055%
                         23                              8.847%
                         24                              8.640%
                         25                              8.434%
                         26                              8.227%
                         27                              8.021%
                         28                              7.816%
                         29                              7.611%
                         30                              7.406%
                         31                              7.201%
                         32                              6.997%
                         33                              6.794%
                         34                              6.591%
                         35                              6.388%
                         36                              6.185%
                         37                              5.983%
                         38                              5.781%
                         39                              5.580%
                         40                              5.379%
                         41                              5.179%
                         42                              4.979%
                         43                              4.779%
                         44                              4.579%
                         45                              4.380%
                         46                              4.182%
                         47                              3.984%
                         48                              3.786%
                         49                              3.588%
                         50                              3.391%
                         51                              3.194%
                        52+                              3.000%

                Note: Nominal percentage changes assume annual inflation or
                cost of living increases of 2.0% plus overall productivity
                adjustments of 1.0% per year. The underlying real life-cycle
                percentage change is calculated using a regression analysis of
                log of total earnings on experience and experience squared using
                earnings for full-time year-round male workers from the 2001
                Current Population Survey(CPS) table PINC-04




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                                                            Table 4

                       Decedent's Personal Expenditures or Consumption as Percent of Income

                                                                          Income


 Single                              76.4%       74.6%   73.5%   71.6%    68.0%    64.4%    63.5%   62.6%   61.7%
 Single, 1 dependent child           21.6%       21.6%   21.6%   21.6%    20.6%    19.7%    19.0%   18.3%   17.8%
 Married, no children                30.7%       28.3%   26.7%   26.7%    24.7%    22.8%    20.5%   18.3%   17.8%
 Married, 1 dependent child          19.0%       17.6%   16.9%   16.9%    15.9%    14.9%    13.6%   12.4%   12.1%
 Married, 2 dependent children       13.6%       12.8%   12.5%   12.5%    11.8%    11.1%    10.2%    9.4%    9.1%



 Single                              60.8%       53.5%   48.0%   48.0%    48.0%    48.0%    48.0%   48.0%   48.0%
 Single, 1 dependent child           17.4%       15.1%   13.7%   13.7%    13.7%    13.7%    13.7%   13.7%   13.7%
 Married, no children                17.4%       14.5%   12.5%   12.5%    12.5%    12.5%    12.5%   12.5%   12.5%
 Married, 1 dependent child          11.8%        9.9%    8.7%    8.7%     8.7%     8.7%     8.7%    8.7%    8.7%
 Married, 2 dependent children        8.9%        7.6%    6.7%    6.7%     6.7%     6.7%     6.7%    6.7%    6.7%



                                                            Table 5

                                    Assumed Before-tax and After-tax Discount Rates

                                                           Before-Tax         After-Tax
                                 Age of Victim            Discount Rate     Discount Rate
                                 35 & Under                   5.1%              4.2%
                                 36-54                        4.8%              3.9%
                                 55 & Over                    4.2%              3.4%


     Note:
     The present value of presumed economic loss is calculated by applying the after-tax discount rate
     corresponding to the victim's age at death to all future periods. For example, projected
     earnings and benefits for a victim who was 30 years old at the time of death will be discounted to
     present value at 4.2% per year for all future years, and projected earnings and benefit for a
     45-year-old victim will be discounted to present value at 3.9% per year for all future years.




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5.14    What do the Presumed Economic and Non-Economic Loss Tables mean?

The economic loss tables are intended to illustrate an average or typical award before collateral
sources are offset. Each individual's award will vary depending on the exact income, the
benefits and other compensation that individual received from his or her employment,the
Victim's effective tax rate, and the household size. The tables should be used as a guide to get a
general understanding of the size of the typical award for presumed economic and non-economic
loss.

5.15    What is economic loss? How is economic loss determined?

Economic loss is an estimate ofthe compensation that would have been available to the family if
the tragedy had not occurred. Please look at the economic loss tables for additional information
on how presumed awards for economic loss are calculated. These tables cover deceased Victims
only.

5.16    What do I do if the age of the Victim is not on the presumed economic loss table?
        For example,if the Victim was more than 65 years old?

If the Victim was older than 65, or between 18 and 25, you should call the Helpline at [removed]
and ask for an estimate. If the Victim was younger than 18, please refer to FAQ 5.17.

5.17    How will the methodology calculate the economic loss for a victim that was a child?

The regulations specify that victims who were minors will be compensated based on the average
of all wage earners in the US. The average income for all wage earners in 2000 was $32,864.
The methodology assumes that the economic loss calculation begins immediately as if the minor
Victim was 20 years old as of September 11, 2001. The same economic loss calculation
methodology will otherwise be employed. Thus, the presumed economic and non-economic loss
amount would be approximately $803,000.

5.18    How will the economic loss be calculated for Victims who were retired or not
        working?

 The Special Master will calculate an award based on the economic value of replacement services
 using standard values as provided by relevant studies, or similar approaches.

5.19    Can you define replacement service as used in Section 104.43?

Replacement service means the value of household services the decedent provided to the
household. This will be used for deceased Victims who were not working at the time ofthe
tragedy. Replacement services will also be considered on a case-by-case basis as part ofthe
hearing process, should claimants elect that option.
5.20 How should work history be treated if Victim had less than three years of work
       history (or if there was a break in work)?

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The Special Master will consider all relevant factors in determining the appropriate level of
earnings for calculating economic loss. If there is less than a three-year work history, the Special
Master will consider the data that are available possibly in conjunction with industry or
employer-specific information.

 5.21 How will the Special Master determine the amount of my collateral source
      benefits?

The Act defines collateral sources to mean all such sources, including life insurance, pension
funds, death benefit programs and payments by Federal, State, or local governments related to
the terrorist-related aircraft crashes of September 11, 2001. The Act and the Rule require the
Special Master to reduce the total amount of compensation by the amount ofthe collateral
source compensation the Victim's beneficiaries has received or is entitled to receive as a result
of the terrorist-related aircraft crashes.

The Special Master will exercise discretion in valuing the appropriate deductions for collateral
offsets including by determining:

1. Whether the particular offsets fall within the definition of collateral sources;
2. Whether beneficiaries of the Fund are "entitled" to receive compensation from those
   collateral sources;
3. Whether the collateral source compensation is certain or can be computed with sufficient
   certainty to enable its deduction while ensuring that the beneficiaries receive the total
   compensation that is appropriate; and
4. The appropriate amount ofthe compensation that should be deducted, taking into account the
   time value of money and contributions made before death by the Victim in the nature of
   investment or savings.

5.22   What may be excluded from the definition of a "collateral source" benefit?

While it is not possible to define in advance every possible collateral source deduction, a few
general illustrations should provide guidance.
1. The Special Master has discretion to exclude from consideration life insurance proceeds that
   are distributed to persons other than the beneficiaries of this Fund.
2. The Special Master has the discretion to adjust the amount of offsets to exclude premiums or
   assets that were accumulated by the Victim through self-contributions paid into a life
   insurance program to build up a tax-deferred cash value.
3. The Special Master may reduce the amount ofthe offset for a pension to take account of self-
   contributions to that plan over the decedent's lifetime.
4. The collateral source offsets will not include monies or other investments in Victim's 401(k)
   accounts.



Moreover, the Final Rule provides that tax benefits received from the Federal government as a
result of the enactment ofthe Victims of Terrorism Tax Relief Act of 2001 (Pub. Law No. 107-

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 134) will not be treated as collateral source compensation. (See also FAQ 5.23).

5.23    Are tax benefits received from the Federal government as a result of the enactment
        of the Victims of Terrorism Tax Relief Act of 2001 treated as collateral source
        compensation?

The Victims of Terrorism Tax Relief Act of 2001 provides very substantial relief to many
Victims, and that relief will not be treated as collateral source compensation for purposes of
determining awards from the Fund.

5.24    How will the Special Master calculate the appropriate offset for "contingent"
        benefits?

Some survivors may be eligible for benefits or payments from certain programs that
provide periodic payments subject to adjustment or termination depending on potential
future events that cannot be predicted. Examples include Social Security survivor benefits
to the spouse ofthe Victim. Such benefits are paid only under certain conditions and only
for certain periods of time. Further, the benefits are paid periodically over a period of
years.

Where the benefits to be paid due to death of the Victim are uncertain, unpredictable or
contingent on unknown future events, the amount of compensation to which the survivor is
entitled can be impossible to compute with accuracy. In those instances, the Special
Master has discretion not to require a full deduction where the amount of the collateral
source compensation cannot be determined with reasonable certainty.

Thus, for example, the Special Master has determined that workers' compensation benefits that
are payable only if the spouse does not re-marry will only be offset to the extent they have
already been paid. Likewise, Social Security and similar benefits payable to a surviving spouse
only if the spouse does not re-marry or does not earn income above a certain threshold will be
offset only to the extent they have already been paid. By contrast, survivor benefits from the
Social Security Administration and from the military to children of Victims — who generally are
entitled by law to periodic payments until they reach the age of 17 or 18 — can be reasonably
computed and will be offset.




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5.25    Will collateral offsets that are paid periodically be reduced for the time value
        of money?

Yes. The Special Master will only offset the present value of collateral source
compensation. This has the effect of decreasing offsets and, thus, increasing the amount of
awards. As an example, in the case of Social Security children's benefits, the Special
Master would determine the monthly benefit to the child, multiply that benefit by the
number of months remaining until the child reaches age 18 (taking into account possible
limits such as maximum family benefits available), include — if consistent with Social
Security guidelines — a factor for inflation, and then discount the total to present value to
determine the amount ofthe offset.(See also FAQs 5.35 and 5.38.)

5.26    Are charitable gifts offset? Will a benefit from a charity managed by a
        government agency be considered as a collateral offset?

No. The Final Rule clarifies that benefits from charities (privately-funded charitable entities)
disbursing private donations will not be treated as collateral source compensation, even if such
charities were created or managed by governmental entities.

5.27    Will my workers' compensation be treated as a collateral offset?

The Special Master has determined that workers' compensation benefits that are contingent on
future events will only be offset to the extent they have already been paid.

5.28    Will my social security survivor benefits that I am receiving for myself as a
        surviving spouse and for my children be counted as a collateral offset?

Social Security and similar benefits payable to a surviving spouse only if the spouse does not re-
marry or does not earn income above a certain threshold will be offset only to the extent they
have already been paid. Survivor benefits from the Social Security Administration and from the
military to children of Victims — who generally are entitled by law to periodic payments until
they reach the age of 17 or 18 — can be reasonably computed and will be offset.

5.29    Will the money the Victim spent on premiums for his/her life insurance plan
        be included in the offset?

The Special Master has discretion to adjust the amount of offsets to exclude premiums or assets
that were accumulated by the Victim through self-contributions paid into a life insurance
program to build up a tax-deferred cash value.

5.30    Will the money the Victim contributed to his/her pension be included in an
        offset?

 The Special Master may reduce the amount of the offset for a pension to take account of self-
 contributions to that plan over the decedent's lifetime.



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5.31   How can I find out more about how collateral offset rules will effect my claim?

Potential applicants can meet with the Special Master or his representative consultants in order
to advise such applicants whether particular types of benefits or payments will fall within the
definition of"collateral source compensation," and how such types of collateral sources will be
valued.

To be clear, this consultation will focus on broad categories of benefits and will not provide
applicants with a precise determination of their eventual award. The determination of an
appropriate award requires a deliberative review of a Victim's file, including the types of
detailed financial records that the application requires.

5.32   How have non-economic damage awards changed?

The presumed non-economic losses awards for decedents in the Final Rule are $250,000, plus an
additional $100,000 for the spouse and each dependent of the deceased Victim.

5.33   How have the presumed economic damage awards changed?

The Final Rule makes some important changes that will increase the amount of compensation in
the Special Master's presumed award charts. Overall, it is important to understand that the basic
factor that affects the economic loss analysis is the Victim's own data: each presumed award will
be calculated using the Victim's data regarding actual compensation, including fringe benefits
and forms of compensation and effective tax rate. It is also important to emphasize that the
presumed award methodology is intended to make possible the computation of a large number of
awards without the review of detailed data that might typically be employed in a lengthy
economic loss analysis in an individual case. To achieve this objective, the Special Master
specifically adopted assumptions that are intended to be favorable to claimants and to enable
prompt analysis and payment.

5.34   Are the presumed economic awards gender and race neutral?

Yes. The Special Master's original presumed economic loss methodology relied upon expected
work life data from the publication "A Markov Process Model of Work-Life Expectancies Based
on Labor Market Activity in 1997-1998," by James Ciecka, Thomas Donley, and Jerry Goldman
in the Journal ofLegal Economics, Winter 1999-2000. Contrary to the assertions of some
commentators, the Special Master did not use data from the 1970s; rather, the study was
conducted in 1997 and 1998. Also, the Special Master's original presumed award methodology
did not, as some suggested, discriminate against women. Rather, the original methodology relied
upon the same assumptions for men and women — the combined average of All Active Males and
All Active Females. However, in order to increase awards for all claimants by maximizing the
duration of expected foregone earning and accommodating potential increases by women in the
labor force, the Special Master's revised presumed economic loss methodology uses the most
general data available. Specifically, the new methodology used the All Active Males table for all
claimants. The methodology is gender and race neutral.
5.35 How do the presumed economic awards account for inflation and wage growth?



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The Special Master has adjusted the wage growth assumptions to growth rates that incorporate
annual adjustments for inflation, productivity in excess of inflation and life cycle increases using
data from the March 2001 Current Population Survey conducted by the Bureau of the Census for
the Bureau of Labor Statistics. For life cycle increases, the Special Master is applying the higher
age-specific life cycle increases (those for males)for all claimants. For inflation and
productivity increases, the Special Master has applied rates of2 percent and 1 percent,
respectively. These rates are consistent with the long-term relationship between wage growth
and risk-free interest rates. The net effect of this adjustment is to better represent the expected
earning patterns of the Victims over their expected careers.

5.36   How will the economic awards reflect a Victim's "personal consumption" of
       earnings? Will personal consumption be calculated before taxes or after taxes?

As with the original presumed award calculations, the Special Master subtracts from the annual
projected compensable income the Victim's "consumption" as a percentage of after-tax income
instead of before-tax income. While the consumption adjustment is standard, the application of
the adjustment to after-tax income lowers the amount ofthe consumption offset below the
amount that would typically apply in an economic loss calculation. In addition, as with the
initial model, the Special Master's assumptions eliminate some of the components typically used
in estimating consumption, thereby further limiting the consumption deduction.

5.37   Do the presumed economic awards account for the risk of future unemployment?

Yes. To better reflect typical life cycle earnings expectation, the Special Master has incorporated
into the calculation a factor to account for risk of unemployment — again, a common factor in
the calculation of future lost earnings.

5.38    How will the Special Master evaluate the "present value" or "time value of
        money?"

The Special Master has elected to use three blended after-tax discount rates to compute the
present value of the award and has adjusted the discount rate to reflect current yields on mid- to
long-term U.S. Treasury securities. The after tax rates are:

   • For Victims 35 and under, 4.2 %;
   • For Victims 36-54, 3.9 %;and
   • For Victims 55 and over, 3.4%.

The blended discount rates, before tax adjustment, imply real interest rates in excess of inflation
of 3.1%, 2.8%, and 2.2%, depending on the average time to maturity consistent with the average
duration of presumed losses. Although this adjustment creates a more complex computational
process, the Special Master believes that the effect will be to better reflect the different ages of
the Victims and the fact that the survivors will receive awards reflecting different assumed future
years of work life. Future collateral offsets that are not contingent on future events are
discounted at the long-term before-tax presumed annual discount rate of 5.1%.

5.39   Is there a "cap" on economic damages?

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No. The "presumed awards" methodology addresses incomes only up to the 98th percentile. In
extending the presumed awards only up to the 98th percentile, we merely recognized that
calculation of awards for many Victims with extraordinary incomes beyond the 98th percentile
could be a highly speculative exercise and that, moreover, providing compensation above that
level would rarely be necessary to ensure that the financial needs of a claimant are met.
Calculation of an award beyond that point using the presumed award methodology without a
detailed record could very well produce inappropriate results. Accordingly, we permitted
applicants with extraordinary prior earnings to accept awards at the 98th percentile or seek
calculation of an award based upon a more detailed record. We also note that the Special
Master has express authority under the Act to consider the "individual circumstances of the
claimant" in fashioning awards, including the financial needs of Victims and surviving families
in rebuilding their lives. As indicated, the Special Master will strive to deliver a fair and
equitable sum to each eligible claimant.

5.40    What is included in the definition of income for military personnel?

 The Interim Final Rule has been amended to clarify the Special Master's discretion to consider
 on a prorated basis a Victim's income from 2001 as well as published salary scales for
 government or military employees. In addition, the Interim Final Rule is amended to clarify that
 military service members' and uniformed service members' compensation includes all ofthe
 various components of compensation, including, but not limited to, basic pay(BPY), basic
 allowance for housing(BAH), basic allowance for subsistence(BAS), Federal income tax
 advantage(TAD), overtime bonuses, differential pay, and longevity pay.

 5.41   What will be offset against the awards for deceased military Victims?

 1. The $6,000 death gratuity will be offset.

 2. The rent-free government housing for 180 days or the tax-free allowance for housing for 180
    days will not be offset. This is not considered a survivor benefit but is instead the military's
    effort to not cut offfor a defined period oftime the housing that was provided to the families
    of military as part of the deceased service person's compensation.

 3. The life insurance purchased automatically by service members($250,000 automatic that can
    be declined) will be offset.

 4. Dependency and Indemnity Compensation(DIC)will not be offset as to the spouse because
    it is contingent on remaining unmarried. It will be offset as to the children who receive this
    flat rate of $234 per month for each child until age 18 regardless and without any
    contingencies. This amount will change in family structures where there is no surviving
    spouse.

 5. Uniform Services Survivor Benefit Plan(SBP)will not be offset because it is contingent on
    remaining unmarried until age 55. If a spouse is 55 or over, it is not contingent upon
    remaining unmarried; so if there are any such spouses, it will be offset because it is no longer
    contingent. To the extent the SBP is payable to children, the net amount payable will be

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    offset.(Note that SBP will only be applicable ifthe amount is greater than the DIC since the
    DIC is offset against the SBP.)

6. Unused leave will not be offset under the same theory as not cutting offfree housing for 180
   days.

7. Health benefits are available to un-remarried spouse and minor dependents for three years —
   not offset because contingent or not quantifiable.


5.42       How can I determine if someone who is not listed on the Victim's 2000 Federal tax
           return could have been claimed as a dependent?

The Special Master will use the Internal Revenue Service's definition of dependent. The IRS
applies five dependency tests:

       •    Member of household or relationship test
       •    Citizen or resident test
       •    Joint return test
       •    Gross income test
       •    Support test

Please note that for purposes of determining dependency under the Fund,the Special
                                                  " Therefore,a person who is not a citizen
Master will not apply the"citizen or resident test.
or national of the United States.resident alien,or a resident of Canada or Mexico may
nevertheless be considered a dependent under the Fund. All four other tests must be
satisfied. Please refer to IRS Publication 501, Exemptions, Standard Deductions, and
Filing Information, beginning on page 9,for more information on who qualifies as a
dependent. You can find this form from the IRS website at http://www.irs.gov.


5.43       Do siblings of the Victim need to be notified that a claim is being filed? (see Exhibit
           B of Compensation Form)

 Yes. The definition of immediate family includes brothers and sisters of the Victim. Siblings
 are listed on Exhibit B ofthe Compensation Form for Deceased Victims.


5.44       What benefits payable to survivors of NYPD or FDNY victims will be
           considered collateral offsets?

 The Fund will count as collateral source compensation subject to offset the following:

    a. The present value ofthe survivor pension benefit to the extent it exceeds the present
       value ofthe victim's vested pension as of Sept. 11, 2001.

    b. The present value of children's social security benefits (if applicable).

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   c. Life Insurance, including both privately purchased policies and policies provided by the
      City or Department net of premiums paid by the victim or beneficiary and net offunds
      invested in such vehicles by the victim or beneficiary.

   d. Mayor's office benefit (usually one year's pay).

   e. Contractual benefit($25,000).

5.45   How will the Fund compute the present value of the FDNY and NYPD Line of Duty
       Death Benefit for purposes of computing the offset amount?

The Fund will compute the annual benefit based on the victim's salary as of September 11 in
accordance with the benefit rules. If the family has already received a benefit or estimate, the
Special Master will use that figure. Then,the Fund will apply the long-term before tax discount
rate specified in the tables described in the "Explanation ofEconomic Loss Calculations for
FDNY or NYPD victims" and calculate the present value of the future benefits assuming the
death benefits will be paid for the life ofthe surviving spouse. If there is no spouse, the Fund
will determine the duration of any benefit in accordance with New York law. The Fund will
assume that there is no increase in the benefit payable over time. The calculation will deduct
from the Line of Duty Death Benefit offset the present value of the victim's pension that was
vested before September 11. If the Death Benefit is not paid on an annual basis but is instead
paid as a lump sum,then the Fund need not compute a present value and will simply deduct the
lump-sum amount actually paid or to be paid.

5.46   Will the Public Safety Officers Benefit("PSOB") payable to families of uniformed
       victims be offset?

No.

5.47   Is the value of the pension earned by the victim taken into consideration in
       computing claim award amounts?

Yes. The value of the pension that the victim would have received but for the death on
September 11 th is considered as an income component as part of the victim's employer provided
benefits.

5.48   Are payments made by the various State Victim of Crime Boards funded with
       federal funds considered collateral offsets?

No.

5.49   Explanation of FDNY and NYPD Calculations

1. Procedures for Determining Economic Loss.




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To calculate the victim's compensation for purposes of determining economic loss, the Fund will
include: all forms of compensation — including overtime, shift differential, longevity premium
— PLUS the pension that the firefighter or police officer would have received after 20 or 25
years on the force,PLUS the Fund will assume that the firefighter or police officer will continue
to earn an income equivalent to that earned on the force even after the pension begins. In
addition, the Fund will count any earnings from a second job that can be documented.

The Fund will apply the wage growth assumptions to the earnings ofthe firefighter or police
officer so that each year the earning level will go up. At the time the pension is assumed to
commence,the pension will be based on the earnings projected at that date.

 This means that in computing economic loss for the beneficiaries of a firefighter or police officer
(1)the Fund will assume that the compensation level of the firefighter or police officer will
 continue through the average work life, even though the firefighter or police officer might have
 retired after 20 or 25 years,(2)that after 20 or 25 years on the force the firefighter or police
 officer would have received a pension (calculated based on the salary after 20 to 25 years on the
force) in addition to the compensation calculated in number (1), and (3)that any second source
 ofincome will also continue after the pension begins. Therefore, after 20 or 25 years on the
force, the formula will count:(1)compensation, including earnings from a second job, as
 increased in accordance with the regular methodology through average work life; plus(2)
firefighter or police pension through average life expectancy.

 2.Pension/In-the-Line-of-Duty Death Benefit Offsets.

To comply with the Act's requirement that the Fund deduct from any award collateral source
compensation including pensions and death benefits, the Fund will deduct from the award the
present value ofthe death benefit that the survivor obtains from New York. If the death benefit is
paid on an annuity basis, that deduction will be computed based on the annual value of the death
benefit for the expected life span of the spouse of the victim (or the relevant period of time the
benefit is payable to children or parents) in accordance with current rules governing the payment
of death benefits. The calculation assumes that the death benefit will not be increased over time,
as any increases must be legislatively mandated. This means that the offset will be based on the
firefighter or police officer's salary without increases as of September 11 (which is lower than
the future salary with increases that will be projected in computing the economic loss). As a
general rule, the offset for the in-the-line-of-duty death benefit will be less than the amount
computed as economic loss because the economic loss will include presumed salary increases
and promotions each year and because the economic loss will include lost pension on top of that.
The methodology is set up so that the Fund will not include in the offset the amount of the
pension that was vested as of September 11. Since this reduction in the offset is like a credit or
pre-payment to the survivor of the victim's vested pension, the economic loss will make up the
remaining portion of the victim's lifetime pension benefits that would have been earned for
continued service after September 11.

 3. Public Safety Officers Benefit.

 The Fund will not offset the $250,000 Public Safety Officers Benefit.



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                                                                    ILLUSTRATION
 September 11th Victim Compensation Fund of 2001
  Illustration of Presumed Economic and Non-Economic Loss Calculation                                       FDNY Claimant

                           Assumptions
                           Victim Name:                                                                            FDNY Claimant
                           Date of Death:                                                                               09/11/01
                           Age:                                                                                             30.0
                           Marital Status:
                           Number Children Under Age 18:                                                                       2
                           Children's Ages at 09/11/01:                               Child #1                             Age 9
                                                                                      Child #2                          Newborn
                           Primary Employer:                                                                              FDNY
                           Total Annual Earnings From All Employers:                                                    $80,000
                           FDNY Annual Earnings:                                                                        $75,000
                           Years in FDNY as of 09/11/01:                                                                     6.0
                           Assumed Start Date of FDNY Pension:                                                          10/01/20



 Total Economic Losses Before Collateral Offsets:

             Loss of Earnings & Benefits Including Loss of Lifetime FDNY
              Pension Benefits From Continued FDNY Service After 09/11/01*                                                         $2,712,391

 Total Non-Economic Losses                                                                                                          $550,000



 * Includes the excess of the victim's "vested pension" over the value of the survivor pension, if any, assuming
   FDNY survivor annuity is elected instead of lump sum.


 Less:
 Known Offsets:
        Present Value of FDNY Survivor Annuity Pension Benefit Reduced by Present
          Value of Victim's FDNY Vested Pension as of 09/11/01:
                          FDNY Survivor Benefits                                                                     $1,354,813
                          Less: Victim's Vested Benefit                                                                ($89,395)   $1,265,418
             Present Value of Estimated Children's Social Security Benefits                                                         $359,350
             FDNY Group Life Insurance                                                                                                $8,500
             Mayor's Office Benefit(one year's pay)                                                                                  $75,000
             Contractual Benefit                                                                                                     $25,000

             Total Known Offsets                                                                                                   $1,733,268


 Amount of Award                                                                                                                   $1,529,123




 5.50        What part of the payment will go through the estate and what part will not?

 This may depend on the specific circumstances ofthe claim and the domicile of the Victim.
 Generally speaking, the victim's non-economic loss portion of the payment will typically be
 distributed to the beneficiaries ofthe estate, while the remainder ofthe award will go directly to
 the family or other recipients based on the wrongful death statute of the state of domicile and the
 approved final distribution plan.




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 5.51    Where can I get copies of the deceased Victim's state tax returns, specifically from
         New York?

 The following web site provides a list ofthe tax authorities for each state. The link is
 http://www.taxsites.com/agencies.html.

 The Personal Representative can request copies of the Victim's 1998, 1999, and 2000 tax returns
 from the NY State Tax Department. The cost is $0.25 per page. Each return is two pages long,
 plus attachments. The Department suggests sending in a check for $1.00 to cover the copying
 costs for each tax return requested. The address is:

        New York State Tax Department
        Central Photocopying Unit
        Building #8
        State Office Campus
        Albany, New York 12227

 The request must include the following information:

• Taxpayer's name (Victim's name)
• Taxpayer's social security number (Victim's SSN)
• The tax year(s) for which tax returns are being requested (1998, 1999, and 2000)
• The taxpayer's address for each year that a tax return is being requested (i.e., Victim's address
  in tax year 1998, 1999, and 2000)
• Notarized authorization that the person requesting the tax return(s) represents the taxpayer's
  estate (this can be copy of the Court Order or Letter of Administration showing the Personal
  Representative's appointment as (1)Personal Representative,(2)Executor ofthe Will, or(3)
  Administrator ofthe Estate)
• Requestor's name and telephone number (Personal Representative's name telephone number,
  in case the NY State Tax Department has any follow up questions)

 In addition, the request should mention that the tax return(s) are being requested for a Victim of
 the World Trade Center September llth attacks and are needed for the September 11th Victim
 Compensation Fund claims package.

 The Personal Representative can call the New York State Department of Taxation and Finance's
 Taxpayer Assistance Call Center at 1-800-225-5829 if she or he has further questions. The caller
 should follow the prompts for personal income tax questions.

 5.52   Where can I find information on the Tax Advantage(TAD)that a deceased military
        Victim received?

 The Tax Advantage(TAD)usually does not appear on the Victim's Military Leave and Earnings
 Statement. To get this information, the Personal Representative should contact the Casualty
 Assistance Claims Officer(CACO). The Personal Representative can also calculate this by
 going to the Office of the Secretary of Defense Regular Military Compensation Calculator web

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 site and enter information on the Victim's rank (grade), years of service, location, and family
 size. The web address is: http://militarypay.dtic.mil/actives/pay/calc/index.html.

 5.53   Are FICA and Medicare payments considered fringe benefits and added to the
        income for award determination?

 No. FICA and Medicare are not considered as income components, and the value of future
 retirement benefits (to the spouse) are not considered as collateral offsets.

 5.54   FAQ has been removed and is no longer valid.

 5.55   I have read the "Explanation of Process for Computing Presumed Economic Loss"
        and I am still having difficulty replicating the computations found in the "Presumed
        Economic and Non-Economic Loss" matrices. Is any additional guidance available?

 Several inquiries have been made about various aspects ofthe compensation model and
 duplicating it with various degrees of success. Typical errors we have seen in efforts to
 duplicate the model may be avoided by considering the following:
 Compensation level: This should include total compensation excluding employer-
 provided benefits.

 Benefits: The model assumes 4% of pension-eligible compensation and annual medical benefits
 starting at $2,400. The medical benefits are increased yearly at the same rate as earnings.(Actual
 employer-provided benefits are considered when each claim is evaluated and will be used when
 higher than the presumed award fringe benefit assumptions. Ifthe actual benefits are less than
 the assumptions, the Fund will use the assumptions.)

 The "Presumed Age-Specific Earnings Growth Rates" must be applied each year, according
 to the age that year, through the assumed work-life expectancy. The same work-life tables
 are used for all victims based on the reported average for "All Active Males" the same age as
 the victim at death.

 The 3% Unemployment Factor is subtracted from total compensation (including employer-
 provided benefits). This adjustment is necessary because the probability of unemployment is
 not included in the published work-life expectancy figures.

 The "Decedent's Personal Expenditures or Consumption" deduction is subtracted from the total
 of after-tax compensation (including employer-provided benefits). It is applied each year,
 based on the before-tax compensation level as of date of death and changes over time as
 dependent children grow up and leave the household.
 The discount period used in the matrices was assumed to extend from the end of work-life
 expectancy back to September 11, 2001. Actual awards will be calculated back to 2002.

 In addition, there have also been suggestions regarding some of the core assumptions in the
 compensation model. For instance, some have stated that alternative amounts to the inflation

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 assumption may be more appropriate. However, any change in assumptions should be applied
 consistently throughout the model. As a result, adjusting both the growth and discount rates to
 include an alternative inflation assumption would not change the awards significantly.

 5.56     How will economic awards for Port Authority fire and police victims be determined,
          including treatment of accidental death benefits to survivors?

     The calculation of presumed economic loss for victims who were members of the New York
 State and Local Police and Fire Retirement System ("Port Authority Fire or Police") will use the
 same general procedures and assumptions used to calculated presumed economic losses for death
 claims involving NYPD or FDNY victims.11

     Like the NYPD and FDNY victims, Port Authority Fire or Police victims under the Special
 20-Year Retirement Plan would have been eligible to retire from Port Authority Fire or Police
 employment with 20 years of service12 and collect an immediate pension equal to at least 50% of
 last pay. According to Port Authority representatives, the average length of service for Port
 Authority Fire or Police is 25 years. The presumed awards will therefore assume that after 25
 years of creditable service13,the victim would have begun collecting a pension pursuant to the
 terms of the Special 20-Year Retirement Plan, and at the same time continued to receive wage or
 salary income elsewhere equivalent to the victim's last projected Port Authority compensation
 plus any supplemental outside income, if applicable, adjusted for annual increases, through the
 individual's expected remaining working years. The Port Authority Fire or Police pension is
 assumed payable through the victim's life expectancy.14

 Consistent with all presumed economic loss calculations,
    1. Income up to the IRS 98th percentile of wage earners of $231,000 is considered;
    2. Included are the value offringe benefits, including medical insurance coverage, and
        potential pension benefits related to post-Fire or Police employment estimated at 4% of
        compensation;
    3. Growth of income and benefits through the victim's expected work-life incorporates an
        annual inflationary or cost-of-living component, an annual real overall productivity or
        scale adjustment in excess of inflation, and an annual real life-cycle or age-specific
        increase;
    4. An unemployment risk factor of 3% is applied to earnings and benefits other than Fire or
        Police pension payments;
    5. All amounts are adjusted for the estimated personal consumption ofthe victim and
        reduced for estimated combined federal, state and local income tax (to the extent
        applicable); and
    6. Future amounts are adjusted to present value using current yields on risk-free treasury


 II Refer to the "Explanation ofEconomic Loss Calculations for FDNY or NYPD Victims."
 12 Based on discussions with Port Authority representatives, the Special 20-Year Retirement Plan is the plan elected
   by virtually all New York State and Local fire and police.
 13 For victims who had already attained the average years of credited service for fire or police retirees, one
   additional year of creditable service will be assumed. In general, this maximizes the present value of projected
   future pension benefits because they start earlier.
 14 According to provisions ofthe Special 20-Year Retirement Plan, a portion of the fire or police retirement benefit
   is increased by a cost of living adjustment after attaining age 55 and 10 years out or age 62 and 5 years out.

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            securities.

    Refer to Tables 1-5 accompanying the general "Presumed Loss Calculation Tables Before
 any Collateral Offsets" explanation for additional information on Presumed Future Effective
 Combined Federal, State and Local Income Tax Rates for New York (Table 1), Expected
 Remaining Years of Workforce Participation (Table 2), Presumed Age-Specific Earnings
 Growth Rates(Table 3), Decedent's Personal Expenditures or Consumption as Percent of
 Income (Table 4), and Assumed Before-tax and After-tax Discount Rates (Table 5).

     To comply with the Act's requirement that the Fund deduct from any award collateral source
 compensation including pensions and death benefits, the Fund will deduct from the award the
 present value ofthe death benefit that the survivor obtains under the New York State and Local
 Police and Fire Retirement System. Any lump sum survivor benefit is offset, or if the death
 benefit is paid on an annuity basis, that deduction will be computed based on the annual value of
 the death benefit for the expected life span ofthe spouse ofthe victim (or the relevant period of
 time the benefit is payable to children or parents) in accordance with current rules governing the
 payment of death benefits.15 The calculation assumes that the death benefit will not be increased
 over time, as any increases must be legislatively mandated. The methodology is set up so that
 the Fund will not include in the offset the amount ofthe Fire or Police pension that was vested as
 of September 11. Since this reduction in the offset is like a credit or pre-payment to the survivor
 ofthe victim's vested pension, the economic loss will make up the remaining portion of the
 victim's lifetime pension benefits that would have been earned for continued Fire or Police
 service after September 11.




 15    Under the Special 20-Year Retirement Plan for fire or police, the Special Accidental Death Benefit pension equal
      to 100% of the victim's salary is payable to a surviving widow or widower for life.

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                                ILLUSTRATION
 September 11th Victim Compensation Fund of 2001
  Illustration ofPresumed Losses for Port Authority Fire or Police

                   Assumptions

                   Victim Name:                                                      Port Authority Fire or Police
                   Date of Death:                                                                         9/11/01
                   Age:                                                                                        30
                   Marital Status:
                   Number Children Under Age 18:                                                 2
                   Children's Ages at 09/11/2001:                                         Child #1
                                                                                                 9
                                                                                          Child #2
                                                                                         newborn
                   Occupation:                                                              Police
                   Employer:                                                        Port Authority
                   Total Annual Earnings From All Employers:                             $70,000
                   Fire or Police Annual Earnings:                                       $70,000
                   Hire Date at Last Employer:                                            9/11/95
                   Years of Creditable Fire or Police Service at 09/11/2001                    6.0
                   Assumed Start of New York State or Local Fire or Police Pension:       10/1/20


 Total Economic Losses Before Collateral Offsets

                   Loss of Earnings & Benefits Including Loss of Lifetime Port Authority
                   Pension Benefits From Continued Port Authority Service After 09/11/2001*                                   $2,454,281

 Total Non-Economic Losses                                                                                                      $550,000

 Total Losses Before Collateral Offsets                                                                                       $3,004,281
 * Includes amount of pension projected at ultimate retirement less amount of vested benefit prepaid in the form of survivor benefits.


 Less:
 Known Offsets:
             Present Value of Survivor Lump Sum Pension Benefit Reduced by Present
               Value of Victim's Vested Pension as of 09/11/2001:

                                 Past Survivor Benefits                                                     $68,036
                                 Present Value Future Survivor Benefits                                   $1,263,387
                                 Less: Victim's Vested Benefit                                             ($40,718)          $1,290,705

                   Social Security One-time Lump Sum Death Benefit                                                                  $255
                   Past Social Security Survivor Benefits                         Spouse                                              $0
                                                                                  Children                                       $52,356
                   Present Value of Children's Future Social Security Survivor Benefits                                         $317,386
                   Basic Life Insurance(3 times pay)                                                                            $210,000

                   Total Known Offsets                                                                                        $1,870,702

 Amount of Total Award                                                                                                        $1,133,579




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 5.57   Is the calculation of economic awards for Port Authority civilian victims the same as
        Port Authority fire and police victims?

     Because the two groups are covered by different pension plans, the calculation of economic
 awards for Port Authority civilian victims differs from the calculation for Port Authority fire and
 police victims. The calculation of presumed economic awards for Port Authority civilian
 victims, who are covered by the New York State and Local Employees' Retirement System
(ERS), applies the same method as the calculation of presumed economic awards for all non-
 uniformed victims covered by standard defined benefit pension plans. These plans, including
 ERS, enable a retiree to collect upon retirement a monthly pension for life based on his or her
final average pay and years of service at retirement. As is the case with ERS, unreduced
 retirement benefits are typically not payable before age 55, with at least 30 years of service, or
 later ages, with less service. (In contrast, the pension plan applicable to Port Authority police
 and fire, similar to plans covering other uniformed personnel in the United States military,
 NYPD and FDNY,provides for an immediate pension equal to 50% of final pay upon attaining
20 years of service, regardless of age).

      The presumed economic loss calculations for Port Authority civilian victims
 incorporate all of the assumptions and methodology set forth in the Explanation of
 Process of Computing Presumed Economic Loss, except instead of the default 4% of pay
 in the form of pension benefits, the calculations compute pension benefits according to
 ERS. Specifically, the calculations assume that victims covered by ERS would have
 remained in civilian employment with the Port Authority for the remainder of their
 expected working years and begin collecting for life a monthly pension at the age eligible
 to collect unreduced retirement benefits. The projected monthly pension at end of work-
 life is calculated using the applicable ERS pension formula applied to the victim's
 projected length of service to work-life date and projected 3-year average pay at work-life.

 5.58   Are accidental death benefits to survivors of Port Authority civilian victims
        considered a collateral offset to awards?

     Yes. Any lump sum benefit already received is subtracted from the presumed award, or if
 the death benefit is paid on an annuity basis, that deduction will be computed based on the
 present value ofthe accidental death benefit for the relevant period of time the benefit is payable
 to children or parents of victims. For benefits paid to spouses of victims, unlike accidental death
 survivor pension benefits payable to spouses ofPort Authority fire and police victims, the benefit
 to civilian Port Authority survivors stops if the spouse is remarried before age 55. Therefore the
 offset will not include any future Port Authority survivor pension benefits to spouses who are not
 yet age 55 when they submit a claim to the Fund. Any future calculations assume that the death
 benefit will not be increased over time, as any increases must be legislatively mandated. The
 methodology is set up so that the Fund will not include in the offset the amount of the victim's
 Port Authority civilian pension that was vested as of September 11. Since this reduction in the
 offset is like a credit or pre-payment to the survivor ofthe victim's vested pension, the economic
 loss will make up the remaining portion ofthe victim's lifetime pension benefits that would have
 been earned for continued Port Authority service after September 11.

 5.59   How will economic awards for Military victims be determined?

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                                            ILLUSTRATION

 September 11th Victim Compensation Fund of 2001
  Illustration of Presumed Economic and Non-Economic Loss Calculation -- Military Claimant

             Assumptions

             Victim Name:                                      Representative Military
             Date of Death:                                                 09/11/01
             Age:                                                                  33
             Marital Status:
             Children's Ages at 09/11/01:                    Child #1          Age 9
                                                             Child #2       Newborn
             Employer:                                              U.S. Military E-7
             Total Annual Compensation Including BAH, BAS and
              Tax Advantage at 9/11/2001:                                  $54,210
             Military Basic Pay as of 9/11/2001:                           $31,057
             Years in Military Service as of 9/11/2001                             15


 Total Economic Losses Before Collateral Offsets

       Loss of Earnings & Benefits Including Loss of Lifetime Military
        Pension Benefits From Continued Military Service After 09/11/01                  $1,787,580

 Total Non-Economic Losses                                                                $550,000

 Total Economic and Non-Economic Losses Before Known Collateral Offsets                  $2,337,580


 Less:
 Known Offsets:
       Past and Present Value Future Children's Social Security Benefits                  $214,175
       Past Spouse's DIC Benefits                                                          $13,024
       Past and Present Value Future Children's DIC Benefits                               $62,394
       Death Gratuity                                                                       $6,000
       Service Members Group Life Insurance                                               $250,000

      Total Known Offsets                                                                 $545,593

 Amount of Award                                                                         $1,791,987




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 5.60    How will the Special Master treat claims on behalf of decedents who had unusually
         high incomes? Is it possible that some claimants will receive awards higher than
         the highest numbers on the Presumed Award charts?

 Yes, it is possible that some claimants will receive awards higher than the highest numbers on
 the Presumed Award charts. The regulations provide that the Special Master may depart from
 the presumed awards and methodology based upon "extraordinary circumstances." The figures
 provided on the Special Master's presumed award charts do not constitute any form of"cap" on
 awards. To the contrary, the Special Master has the authority to exercise discretion by
 considering the individual circumstances of each claimant in arriving at an appropriate award.

 As stated in the regulations, those claimants who have extraordinary individual circumstances
 may request a hearing as an alternative to, or subsequent to, participating in the presumed award
 process. There is no limitation on what information claimants may provide in explaining their
 individual circumstances. Thus, claimants are permitted to provide any evidence that they wish
 regarding their economic losses and individual circumstances. However,they should be aware
 that lost income is merely one component of the award by the Special Master. The statute
 requires the Special Master to consider not only "economic loss," but also the individual
 circumstances of the claimant. These circumstances include factors such as families' needs and
 resources in rebuilding their lives. Thus, while some have argued for a purely mechanical
 calculation of lost income that would lead to awards for "high income" claimants of 20, 30, 40 or
 even 50 times as much as other claimants, such an approach is not consistent with the purposes
 ofthe statute creating the Fund.

 While claimants may present any evidence that they think might establish extraordinary
 circumstances to justify departure from a presumed award, the Special Master has made clear
 that the program is not designed to provide greater awards to those who obtain counsel or
 experts. Moreover, information regarding extraordinary earnings histories will not be viewed in
 isolation, but will instead be considered in light of all of the other individual circumstances. The
 Regulations make it clear that in evaluating economic loss for high income earners attempting to
 demonstrate extraordinary circumstances, the Special Master will not apply the presumed award
 methodology to any income level above $231,000. Claimants therefore should not expect that
 the Fund will apply some or all of the presumed award assumptions to higher incomes. Instead,
 the Special Master must consider each such claim on an individual basis. Thus, while claimants
 are permitted to submit evidence of extraordinary earnings, they should be aware that if they
 choose to do so, the Special Master will require that they also submit individualized evidence
 regarding other aspects of their economic loss claim. The Special Master may and will consider
 a range of information in evaluating the economic loss, including, but not limited to, the
 following: earnings history beyond three years; the components of claimed income such as
 contingent bonus, commissions, or stock options or sales (each of which may be more or less
 risky or speculative); the certainty or uncertainty offuture income (based on industry trends,
 industry work life); victim-specific factors such as tax rates, personal consumption, household
 structure, and dual incomes(consumption will likely apply to before-tax household income);
 industry-specific factors such as positive or negative growth rates, work life expectancies, and
 turnover and longevity; and individual family circumstances (including special needs). Most
 importantly, the Special Master will, pursuant to the statute, exercise appropriate discretion to
 assure awards that are just and fair in light ofthe individual circumstances of the claimant.

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 While this process might result in awards greater than the presumed awards for some claimants,
 the guidance given in the Preamble to the regulations makes clear that "[c]laimants should not
 expect awards grossly in excess of the highest awards listed on the Special Master's presumed
 award chart." The Preamble to the Final Rule creating the Fund predicted that it would be rare
 for claimants representing deceased victims to receive less than $250,000 after collateral source
 offsets, or for claimants to receive more than $3 million or $4 million tax-free. While awards
 between $3 and $4 million (after collateral source deductions) have turned out to be more
 common than originally anticipated, there have not yet been many awards in excess of $4
 million. The regulations clearly indicate that any methodology that does nothing more than
 mechanically calculate a theoretically possible future income stream would lead to awards that
 are insufficient relative to some victims and excessive relative to others. Accordingly, the final
 award will reflect a discretionary evaluation of all individual factors and will not simply be the
 projection of an assumed net income by an assumed work life.

 5.61   I am the parent of a minor child who is a beneficiary of an award. What are the
        options for payment of a minor child's award?

 There are several options available for the receipts of payments on behalf of minor children.
 First, the entire award, including the minor child's award, can be paid to the personal
 representative. Under this option, a court will generally supervise the distribution ofthe award
 and take steps to safeguard the minor's portion ofthe award.

 Second, the minor child may receive benefits directly from the Fund. Under this option, a
 guardian must be appointed by a court of competent jurisdiction to receive an award directly on
 behalf of the child. Normally it is a simple and relatively quick process for a natural or adoptive
 parent to be appointed a guardian. However, court supervision or a bond may be involved when a
 guardian is appointed.

 Third, if you are a natural or adoptive custodial parent of a minor, you may apply to receive
 benefits directly on behalf of the child as a "representative payee." As a representative payee,
 you assume full responsibility for ensuring that the award to the child is spent for the child's
 current needs, and, if not currently needed, saved for the child's future needs. Court supervision
 or bonding is not required. However, you are still obliged - like a trustee -to ensure that funds are
 used in the child's best interest. This includes a duty to prudently invest funds, maintain separate
 accounts, and maintain records. If you would like to apply to become a representative payee, you
 should request that the Fund send you the Application for Representative Payee Form to fill out
 in which you request to receive the funds as a representative payee on behalf of your child and in
 which you agree to perform the responsibilities this role requires. This form can also be
 downloaded from the Fund's website.

 5.62    I am applying to be the representative payee of my minor child. If I do not know
         the exact amount being awarded to my child, what amount do I input on the form
        (#7)?

 There are two options. You can either leave the award amount blank or input the same
 percentage listed on the final approved distribution plan. If you choose to enter an amount and

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 that amount does not agree with the final approved distribution amount, you will be required to
 submit a new representative payee form.

 5.63    When should I submit my payment information (i.e. ACH form, Application for
         Representative Payee)?

 Payment information should be submitted by either the date provided to you by the Fund or May
 1,2004, whichever is earlier.

 5.64    Can payments be made through direct deposit to foreign banks?

 No. Payments to offshore recipients cannot be made through direct deposit. These payments
 must be in the form of checks. The U.S. Department of the Treasury will issue the checks and
 forward them to the Department of Justice. The Department of Justice will send them out via
 express mail.

 5.65    Can direct deposit payments be made to money market or brokerage accounts?

 No. The U.S. Department of the Treasury only uses ACH payments. Thus, the Fund can only
 make direct deposit payments to a regular checking or savings account.

 5.66    How will the Special Master compute compensation awards with foreign income or
         foreign collateral source offset components?

 When computing compensation awards for victims who were paid in other than United States
 currency, the Special Master will use the date of 9/11/01 as the conversion date for denominating
 foreign currencies into U.S. dollars for computing the awards. For valuation of collateral source
 offsets, the Special Master will use March 11, 2002 as the conversion date. This is when the
 Compensation forms were first available for completion.

 5.67    I am submitting a claim for a FDNY deceased victim, what information do I need to
         provide to the Special Master in order for him to calculate my presumed award?

 1.      Line of Duty(LOD)benefit notification document.
 2.      FDNY appointment date.
 3.      Equated date (Start of uniformed city service immediately preceding date one
         entered the Fire Department).
 4.      Non-Uniformed Prior City Time (if applicable).
 5.      LOD benefit type received — Lump Sum Death Benefit or Annual Pension
        (Annuity).
 6.      Electronic fund transfer statement or other deposit information showing LOD
         pension payment.
 7.      If LOD received as an annuity, the relationship and birth dates of the recipient(s).
 8.      Social Security Administration Notice of Award.
 9.      2000 or 2001 Tax Return ifdependents were claimed.

 Please note that if the deceased had compensation from other employers from

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 1998 — 2001, other documentation will need to be provided such as W-2s and year-end pay
 statements.

 In addition, documentation of any life insurance or other survivor benefits from sources other
 than the FDNY must be provided.

 5.68    How are "collateral sources" deducted from a final award?

 Generally, collateral source payments, also known as collateral offsets, will be applied against
 the share of the individual who received the benefit. Any excess benefit will be applied against
 the remaining shares ofthe award. However, a departure from this general policy may be
 warranted in certain circumstances. For instance, if the Personal Representative believes that a
 hardship is created by applying collateral offsets against individual shares, he/she may send a
 written request to the Special Master for a reallocation of collateral offsets. The Special Master
 will determine whether a reallocation is appropriate under the circumstances and will advise the
 claimant accordingly. Likewise, where the Personal Representative submits a consensual
 distribution plan, signed and notarized by all adult interested parties, it is assumed that the
 interested parties have agreed to a distribution of the net award and, as such, the collateral offsets
 will be taken off the top of the award.

 5.69   Does the Special Master take into account a claimant's economic loss before
        evaluating need-based circumstances?

 Yes. The Special Master does and always has taken into account a claimant's economic loss at
 hearings before evaluating individual circumstances, including need.

 5.70   Does the economic loss figure on my final award document reflect the results of the
        economic loss analysis conducted prior to any need-based or replacement service
        determination?

No. Final award documents, which are disseminated mainly to demonstrate how an award has
been apportioned, include several categories of information, one of which is a category entitled
"economic loss." This economic loss category, however, does not reflect the results of the
economic loss analysis conducted prior to any need-based or replacement service determination.
Rather, this figure has already been appropriately adjusted (for purposes of assisting with
distribution) to include any need-based or replacement service determination.




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